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                                          UNITED STATES DISTRICT COURT
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                                       NORTHERN DISTRICT OF CALIFORNIA
           10
                                                  OAKLAND DIVISION
           11
                 ROBERT ROSS,                                CASE NO. 4:19-CV-06669 (JST)
           12
                                 Plaintiff,                  [PROPOSED] PROTECTIVE ORDER
           13
                                                             ***AS MODIFIED BY THE COURT***
                      v.
           14
                 AT&T MOBILITY LLC,
           15
                                 Defendant.
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            1                                   [PROPOSED] PROTECTIVE ORDER
            2           Pursuant to this Court’s June 15, 2020 Orders, Plaintiff Robert Ross and Defendant AT&T
            3    Mobility LLC (“AT&T”) hereby submit this Proposed Protective Order.
            4    1.     PURPOSES AND LIMITATIONS
            5           Disclosure and discovery activity in this action are likely to involve production of confidential,
            6    proprietary, or private information for which special protection from public disclosure and from use
            7    for any purpose other than prosecuting this litigation may be warranted. Accordingly, the Parties
            8    hereby stipulate to and petition the court to enter the following Stipulated Protective Order. The Parties
            9    acknowledge that this Order does not confer blanket protections on all disclosures or responses to
           10    discovery and that the protection it affords from public disclosure and use extends only to the limited
           11    information or items that are entitled to confidential treatment under the applicable legal principles.
           12    The Parties further acknowledge, as set forth in Section 12.4, below, that this Stipulated Protective
           13    Order does not entitle them to file confidential information under seal; Civil Local Rule 79-5 sets forth
           14    the procedures that must be followed and the standards that will be applied when a Party seeks
           15    permission from the Court to file material under seal.
           16    2.     DEFINITIONS
           17           2.1     Challenging Party: a Party or Non-Party that challenges the designation of information
           18    or items under this Order.
           19           2.2     “CONFIDENTIAL” Information or Items:              information (regardless of how it is
           20    generated, stored or maintained) or tangible things that qualify for protection under Federal Rule of
           21    Civil Procedure 26(c), including information, documents, or things that have not been made public by
           22    the Designating Party and that the Designating Party reasonably and in good faith believes contains or
           23    comprises (a) trade secrets; (b) proprietary business information of a competitively sensitive nature;
           24    (c) information about data security systems that could reasonably lead to circumvention or misuse; or
           25    (d) information implicating an individual’s legitimate expectation of privacy under applicable law,
           26    including personal financial information or information otherwise protected under Privacy Rules.
           27           2.3     “CONFIDENTIAL-ATTORNEYS’                  EYES     ONLY”       Information    or    Items:
           28    CONFIDENTIAL, non-public information that the Designating Party reasonably and in good faith

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            1    believes is so highly sensitive that it should not be disclosed to any person other than outside counsel
            2    and in-house counsel for the Parties in order to protect the privacy or confidentiality interests described
            3    above and/or to avoid significant competitive or commercial disadvantage to the Designating Party.
            4            2.4       Counsel (without qualifier): Outside Counsel of Record and In-House Counsel (as well
            5    as their support staff).
            6            2.5       Designating Party: a Party or Non-Party that designates information or items that it
            7    produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “CONFIDENTIAL-
            8    ATTORNEYS’ EYES ONLY.”
            9            2.6       Disclosure or Discovery Material: all items or information, regardless of the medium
           10    or manner in which it is generated, stored, or maintained (including, among other things, testimony,
           11    transcripts, and tangible things), that are produced or generated in disclosures or responses to discovery
           12    in this matter.
           13            2.7       Expert: a person with specialized knowledge or experience in a matter pertinent to the
           14    litigation who has been retained by a Party or its counsel to serve as an expert witness or as a consultant
           15    in this action.
           16            2.8       In-House Counsel: attorneys who are employees of a Party to this action (or corporate
           17    parent or relevant affiliate) and who have responsibilities related to this action. In-House Counsel does
           18    not include Outside Counsel of Record or any other outside counsel.
           19            2.9       Non-Party: any natural person, partnership, corporation, association, or other legal
           20    entity not named as a Party to this action.
           21            2.10      Outside Counsel of Record: attorneys who are not employees of a party to this action
           22    but are retained to represent or advise a party to this action and have appeared in this action on behalf
           23    of that party or are affiliated with a law firm which has appeared on behalf of that party.
           24            2.11      Party: any party to this action, including all of its officers, directors, employees,
           25    consultants, retained experts, and Outside Counsel of Record (and their support staffs).
           26            2.12      Producing Party: a Party or Non-Party that produces Disclosure or Discovery Material
           27    in this action.
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            1           2.13    Professional Vendors: persons or entities that provide litigation support services (e.g.,
            2    photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing, storing,
            3    or retrieving data in any form or medium) and their employees and subcontractors.
            4           2.14    Protected Material:     any Disclosure or Discovery Material that is designated as
            5    “CONFIDENTIAL” or “CONFIDENTIAL-ATTORNEYS’ EYES ONLY.”
            6           2.15    Receiving Party:     a Party that receives Disclosure or Discovery Material from a
            7    Producing Party.
            8    3.     SCOPE
            9           The protections conferred by this Stipulation and Order cover not only Protected Material (as
           10    defined above), but also (1) any information copied or extracted from Protected Material; (2) all copies,
           11    excerpts, summaries, or compilations of Protected Material; and (3) any testimony, conversations, or
           12    presentations by Parties or their Counsel that might reveal Protected Material. However, the protections
           13    conferred by this Stipulation and Order do not cover the following information: (a) any information that
           14    is in the public domain at the time of disclosure to a Receiving Party or becomes part of the public domain
           15    after its disclosure to a Receiving Party as a result of publication not involving a violation of this Order,
           16    including becoming part of the public record through trial or otherwise; and (b) any information known
           17    to the Receiving Party prior to the disclosure or obtained by the Receiving Party after the disclosure from
           18    a source who obtained the information lawfully and under no obligation of confidentiality to the
           19    Designating Party. In addition, this Order shall not limit a Party or Non-Party’s ability to use its own
           20    Protected Material for any purpose. Any use of Protected Material at trial shall be governed by a separate
           21    agreement or order.
           22    4.     DURATION
           23           Even after final disposition of this litigation, the confidentiality obligations imposed by this Order
           24    shall remain in effect until a Designating Party agrees otherwise in writing or a court order otherwise
           25    directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims and defenses in
           26    this action, with or without prejudice; and (2) final judgment herein after the completion and exhaustion
           27    of all appeals, rehearings, remands, trials, or reviews of this action, including the time limits for filing
           28    any motions or applications for extension of time pursuant to applicable law.

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            1    5.      DESIGNATING PROTECTED MATERIAL
            2            5.1     Exercise of Restraint and Care in Designating Material for Protection. Each Party or
            3    Non-Party that designates information or items for protection under this Order must take care to limit
            4    any such designation to specific material that qualifies under the appropriate standards.               The
            5    Designating Party must designate for protection only those parts of material, documents, items, or oral
            6    or written communications that qualify—so that other portions of the material, documents, items, or
            7    communications for which protection is not warranted are not swept unjustifiably within the ambit of
            8    this Order. However, where it is administratively unfeasible or unduly burdensome to designate only
            9    portions of material, documents, items, or communications that contain confidential information, a
           10    Designating Party may designate the entirety of a document or communication to facilitate production.
           11    In such circumstances, the Parties agree that, to the extent either Party desires to put such documents
           12    or communications before the Court, the Parties will meet and confer regarding the extent to which the
           13    designation may be limited to only a portion of the document or communication at issue, based on the
           14    overall relevance, significance, and sensitivity of the information produced.
           15            Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown to
           16    be clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily encumber
           17    or retard the case development process or to impose unnecessary expenses and burdens on other parties)
           18    expose the Designating Party to sanctions.
           19    If it comes to a Designating Party’s attention that information or items that it designated for protection
           20    do not qualify for protection, that Designating Party must promptly notify all other Parties that it is
           21    withdrawing the mistaken designation.
           22            5.2     Manner and Timing of Designations. Except as otherwise provided in this Order (see,
           23    e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or
           24    Discovery Material that qualifies for protection under this Order must be clearly so designated before
           25    the material is disclosed or produced.
           26            Designation in conformity with this Order requires:
           27            (a) for information in documentary form (e.g., paper or electronic documents, but excluding
           28    transcripts of depositions or other pretrial or trial proceedings), that the Producing Party affix the legend

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            1    “CONFIDENTIAL” or “CONFIDENTIAL-ATTORNEYS’ EYES ONLY” to each page that contains
            2    Protected Material. If only a portion or portions of the material on a page qualifies for protection, the
            3    Producing Party also must clearly identify the protected portion(s) (e.g., by making appropriate
            4    markings in the margins).
            5           A Party or Non-Party that makes original documents or materials available for inspection need
            6    not designate them for protection until after the inspecting Party has indicated which material it would
            7    like copied and produced. During the inspection and before the designation, all of the material made
            8    available for inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has identified
            9    the documents it wants copied and produced, the Producing Party must determine which documents,
           10    or portions thereof, qualify for protection under this Order. Then, before producing the specified
           11    documents, the Producing Party must affix the “CONFIDENTIAL” or “CONFIDENTIAL-
           12    ATTORNEYS’ EYES ONLY” legend to each page that contains Protected Material. If only a portion
           13    or portions of the material on a page qualifies for protection, the Producing Party also must clearly
           14    identify the protected portion(s) (e.g., by making appropriate markings in the margins).
           15           (b) for testimony given in deposition, that the Designating Party identify, within fourteen days
           16    after receipt of the final transcript, any portion of such deposition involving protected testimony.
           17           (c) for testimony or argument given in pretrial or other proceedings, that the Designating Party
           18    request, on the record, that the Court permit a motion to seal the courtroom for portions of the
           19    proceeding, and that the Designating Party further identify, within fourteen days after receipt of the
           20  final transcript, the portion(s) of such hearing or other proceeding involving protected testimony.
              ***The presiding judge will decide whether that relief is appropriate.***
           21           (d) for information produced in some form other than documentary and for any other tangible
           22    items, that the Producing Party affix in a prominent place on the exterior of the container or containers
           23    in which the information or item is stored the legend “CONFIDENTIAL” or “CONFIDENTIAL-
           24    ATTORNEYS’ EYES ONLY.” If only a portion or portions of the information or item warrant
           25    protection, the Producing Party, to the extent practicable, shall identify the protected portion(s).
           26           5.3     Inadvertent Failures to Designate.       If timely corrected, an inadvertent failure to
           27    designate qualified information or items does not, standing alone, waive the Designating Party’s right
           28    to secure protection under this Order for such material. Upon timely correction of a designation, the

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            1    Receiving Party must make reasonable efforts to assure that the material is treated in accordance with
            2    the provisions of this Order.
            3    6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
            4           6.1      Timing of Challenges.      Any Party or Non-Party may challenge a designation of
            5    confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality
            6    designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic burdens,
            7    or a significant disruption or delay of the litigation, a Party does not waive its right to challenge a
            8    confidentiality designation by electing not to mount a challenge promptly after the original designation
            9    is disclosed.
           10           6.2      Meet and Confer. The Challenging Party shall initiate the dispute resolution process by
           11    providing written notice of each designation it is challenging and describing the basis for each
           12    challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must recite
           13    that the challenge to confidentiality is being made in accordance with this specific paragraph of the
           14    Protective Order. The parties shall attempt to resolve each challenge in good faith and must begin the
           15    process by conferring directly (in voice to voice dialogue; other forms of communication are not
           16    sufficient) within 14 days of the date of service of notice. In conferring, the Challenging Party must
           17    specify the designated material subject to the challenge and explain the basis for its belief that the
           18    confidentiality designation was not proper and must give the Designating Party an opportunity to
           19    review the designated material, to reconsider the circumstances, and, if no change in designation is
           20    offered, to explain the basis for the chosen designation. A Challenging Party may proceed to the next
           21    stage of the challenge process only if it has engaged in this meet and confer process first or establishes
           22    that the Designating Party is unwilling to participate in the meet and confer process in a timely manner.
           23           6.3      Judicial Intervention. If the Parties cannot resolve a challenge without court intervention,
           24    the Designating Party shall file and serve a motion to retain confidentiality under Civil Local Rule 7 (and
           25    in compliance with Civil Local Rule 79-5, if applicable) within 21 days of the initial notice of challenge
           26    or within 14 days of the parties agreeing that the meet and confer process will not resolve their dispute,
           27    whichever is earlier. Each such motion must be accompanied by a competent declaration affirming that
           28    the movant has complied with the meet and confer requirements imposed in the preceding paragraph.

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            1    Failure by the Designating Party to make such a motion including the required declaration within 21 days
            2    (or 14 days, if applicable) shall automatically waive the confidentiality designation for each challenged
            3    designation. In addition, the Challenging Party may file a motion challenging a confidentiality
            4    designation at any time if there is good cause for doing so, including a challenge to the designation of a
            5    deposition transcript or any portions thereof. Any motion brought pursuant to this provision must be
            6    accompanied by a competent declaration affirming that the movant has complied with the meet and confer
            7    requirements imposed by the preceding paragraph.
            8           The burden of persuasion in any such challenge proceeding shall be on the Designating Party.
            9    Frivolous challenges, and those made for an improper purpose (e.g., to harass or impose unnecessary
           10    expenses and burdens on other parties) may expose the Challenging Party to sanctions. Unless the
           11    Designating Party has waived the confidentiality designation by failing to file a motion to retain
           12    confidentiality as described above, all parties shall continue to afford the material in question the level of
           13    protection to which it is entitled under the Producing Party’s designation until the court rules on the
           14    challenge.
           15    7.     ACCESS TO AND USE OF PROTECTED MATERIAL
           16           7.1     Basic Principles. A Receiving Party may use Protected Material that is disclosed or
           17    produced by another Party or by a Non-Party in connection with this case only for prosecuting,
           18    defending, or attempting to settle this litigation. Such Protected Material may be disclosed only to the
           19    categories of persons and under the conditions described in this Order. When the litigation has been
           20    terminated, a Receiving Party must comply with the provisions of section 13 below (FINAL
           21    DISPOSITION).
           22           Protected Material must be stored and maintained by a Receiving Party at a location and in a
           23    secure manner that ensures that access is limited to the persons authorized under this Order.
           24           7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered by
           25    the court or permitted in writing by the Designating Party, a Receiving Party may disclose any
           26    information or item designated “CONFIDENTIAL” only to:
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            1            (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees of
            2    said Outside Counsel of Record to whom it is reasonably necessary to disclose the information for this
            3    litigation;
            4            (b) where the Receiving Party is Defendant, the officers, directors, and employees (including
            5    In-House Counsel) of the Receiving Party to whom disclosure is reasonably necessary for this litigation
            6    and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
            7            (c) where the Receiving Party is Plaintiff, Plaintiff himself after signing the “Acknowledgment
            8    and Agreement to Be Bound” (Exhibit A);
            9            (d) Experts (as defined in this Order) of the Receiving Party to whom disclosure is reasonably
           10    necessary for this litigation and who have signed the “Acknowledgment and Agreement to Be Bound”
           11    (Exhibit A);
           12            (e) the court, its personnel, and jurors;
           13            (f) court reporters and their staff, professional jury or trial consultants, mock jurors, and
           14    Professional Vendors to whom disclosure is reasonably necessary for this litigation and who have
           15    signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
           16            (g) during and in preparation for their depositions, witnesses in the action to whom disclosure
           17    is reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”
           18    (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court. Pages of
           19    transcribed deposition testimony or exhibits to depositions that reveal Protected Material must be
           20    separately bound by the court reporter and may not be disclosed to anyone except as permitted under
           21    this Stipulated Protective Order.
           22            (h) the author or recipient of a document containing the information or a custodian or other
           23    person who otherwise possessed or knew the information.
           24            7.3    Disclosure of “CONFIDENTIAL-ATTORNEYS’ EYES ONLY” Information or Items.
           25    CONFIDENTIAL-ATTORNEYS’ EYES ONLY information shall be subject to the same restrictions
           26    as CONFIDENTIAL information, except that CONFIDENTIAL-ATTORNEYS’ EYES ONLY
           27    information may be disclosed only to those persons identified in subparagraphs (a), (d), (e), (f), and (h)
           28    of Section 7.2 of this Order, as well as in-house counsel. In addition, absent agreement in writing by

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            1    the Designating Party or as ordered by the court, any persons in subparagraph (d) may not receive such
            2    information if they have worked for (as an employee or consultant/contractor) a competitor of the
            3    Designating Party in the past two years or are doing so on an ongoing basis.
            4    8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
            5           LITIGATION
            6           If a Party is served with a subpoena or a court order issued in other litigation that compels
            7    disclosure of any information or items designated in this action as “CONFIDENTIAL” or
            8    “CONFIDENTIAL-ATTORNEYS’ EYES ONLY,” that Party must:
            9           (a) promptly notify in writing the Designating Party. Such notification shall include a copy of
           10    the subpoena or court order;
           11           (b) promptly notify in writing the party who caused the subpoena or order to issue in the other
           12    litigation that some or all of the material covered by the subpoena or order is subject to this Protective
           13    Order. Such notification shall include a copy of this Stipulated Protective Order; and
           14           (c) cooperate with respect to all reasonable procedures sought to be pursued by the Designating
           15    Party whose Protected Material may be affected.
           16           If the Designating Party timely seeks a protective order, the Party served with the subpoena or
           17    court order shall not produce any information designated in this action as “CONFIDENTIAL” or
           18    “CONFIDENTIAL-ATTORNEYS’ EYES ONLY” before a determination by the court from which the
           19    subpoena or order issued, unless the Party has obtained the Designating Party’s permission. The
           20    Designating Party shall bear the burden and expense of seeking protection in that court of its
           21    confidential material—and nothing in these provisions should be construed as authorizing or
           22    encouraging a Receiving Party in this action to disobey a lawful directive from another court.
           23    9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS
           24           LITIGATION
           25           (a) The terms of this Order are applicable to information produced by a Non-Party in this action
           26    and designated as “CONFIDENTIAL” or “CONFIDENTIAL-ATTORNEYS’ EYES ONLY.” Such
           27    information produced by Non-Parties in connection with this litigation is protected by the remedies and
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            1    relief provided by this Order. Nothing in these provisions should be construed as prohibiting a Non-
            2    Party from seeking additional protections.
            3           (b) In the event that a Party is required, by a valid discovery request, to produce a Non-Party’s
            4    confidential information in its possession, and the Party is subject to an agreement with the Non-Party
            5    not to produce the Non-Party’s confidential information, then the Party shall:
            6           (1) promptly notify in writing the Requesting Party and the Non-Party that some or all of the
            7    information requested is subject to a confidentiality agreement with a Non-Party;
            8           (2) promptly provide the Non-Party with a copy of the Stipulated Protective Order in this
            9    litigation, the relevant discovery request(s), and a reasonably specific description of the information
           10    requested; and
           11           (3) make the information requested available for inspection by the Non-Party.
           12           (c) If the Non-Party fails to object or seek a protective order from this court within 14 days of
           13    receiving the notice and accompanying information, the Receiving Party may produce the Non-Party’s
           14    confidential information responsive to the discovery request. If the Non-Party timely seeks a protective
           15    order, the Receiving Party shall not produce any information in its possession or control that is subject
           16    to the confidentiality agreement with the Non-Party before a determination by the court. Absent a court
           17    order to the contrary, the Non-Party shall bear the burden and expense of seeking protection in this
           18    court of its Protected Material.
           19    10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
           20           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected
           21    Material to any person or in any circumstance not authorized under this Stipulated Protective Order,
           22    the Receiving Party must immediately (a) notify in writing the Designating Party of the unauthorized
           23    disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected Material, (c)
           24    inform the person or persons to whom unauthorized disclosures were made of all the terms of this
           25    Order, and (d) request such person or persons to execute the “Acknowledgment and Agreement to Be
           26    Bound” that is attached hereto as Exhibit A.
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            1    11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
            2           MATERIAL
            3           (a) When a Producing Party gives notice to Receiving Parties that certain inadvertently
            4    produced material is subject to a claim of privilege or other protection, the obligations of the Receiving
            5    Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not intended
            6    to modify whatever procedure may be established in an e-discovery order that provides for production
            7    without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
            8    parties reach an agreement on the effect of disclosure of a communication or information covered by
            9    the attorney-client privilege or work product protection, the parties may incorporate their agreement in
           10    the stipulated protective order submitted to the court.
           11           (b) Pursuant to Federal Rule of Evidence 502(d), in the event that discovery or other material
           12    is inadvertently produced or disclosed, such inadvertent production or disclosure shall in no way
           13    prejudice or otherwise constitute a waiver of, or estoppel as to, any claim of attorney-client privilege,
           14    attorney work product protection, or other applicable protection in this case or any other federal or state
           15    proceeding, provided that the Producing Party shall notify the Receiving Party in writing of such
           16    protection or privilege promptly after the Producing Party discovers such materials have been
           17    inadvertently produced.
           18           (c) If a claim of inadvertent production is made, pursuant to this Order, with respect to
           19    Discovery Material then in the custody of another Party, that Party shall: (i) refrain from any further
           20    examination or disclosure of the claimed Discovery Material; (ii) promptly make a good-faith effort to
           21    return the claimed Discovery Material and all copies thereof (including summaries and excerpts) to
           22    counsel for the Producing Party, or destroy all such claimed Discovery Material (including summaries
           23    and excerpts) and certify in writing to that fact; and (iii) not disclose or use the claimed Discovery
           24    Material for any purpose until further order of the Court expressly authorizing such use.
           25           (d) A Party may move the Court for an order compelling production of the inadvertently
           26    produced material on the ground that it is not, in fact, privileged or protected, or was not inadvertently
                                                                     *to the extent permitted by L.R. 79-5*
           27    produced. The motion shall be filed under seal^and shall not assert as a ground for entering such an
           28    order the fact or circumstance of inadvertent production. Any effort to file under seal pursuant to this

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            1    paragraph must comply with Civil Local Rule 79-5. The Producing Party retains the burden of
            2    establishing the privileged or protected nature of any inadvertently disclosed or produced information.
            3    While such a motion is pending, the inadvertently produced material at issue shall be treated in
            4    accordance with Paragraph 11(c) above.
            5           (e) If a Party, in reviewing Disclosure or Discovery Material it has received from any other
            6    Party or any Non-Party, finds anything that is plainly privileged on its face, the reviewing Party shall:
            7    (i) refrain from any further examination or disclosure of the potentially inadvertently produced
            8    material; (ii) promptly identify the material in question to the Producing Party (by document number
            9    or other equally precise description); and (iii) give the Producing Party seven (7) days to respond as to
           10    whether the Producing Party will make a claim of inadvertent production. If the Producing Party makes
           11    such a claim, the provisions of Paragraphs 11(b)-(d) above shall apply.
           12    12.    MISCELLANEOUS
           13           12.1    Right to Further Relief. Nothing in this Order abridges the right of any person to seek
           14    its modification by the court in the future.
           15           12.2    Right to Assert Other Objections. By stipulating to the entry of this Protective Order no
           16    Party waives any right it otherwise would have to object to disclosing or producing any information or
           17    item on any ground not addressed in this Stipulated Protective Order. Similarly, no Party waives any
           18    right to object on any ground to use in evidence of any of the material covered by this Protective Order.
           19           12.3    Right To Extend Deadlines. Nothing in this Order prevents the Parties from modifying
           20    the deadlines contained herein as needed to avoid unnecessary motions or disputes or for other reasons
           21    to promote efficient litigation of the action provided the modification does not affect the Court’s
           22    schedule.
           23           12.4    Filing Protected Material. Without written permission from the Designating Party or a
           24    court order secured after appropriate notice to all interested persons, a Party may not file in the public
           25    record in this action any Protected Material. A Party that seeks to file under seal any Protected Material
           26    must comply with Civil Local Rule 79-5. Protected Material may only be filed under seal pursuant to
           27    a court order authorizing the sealing of the specific Protected Material at issue. Pursuant to Civil Local
           28    Rule 79-5, a sealing order will issue only upon a request establishing that the Protected Material at

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            1    issue is privileged, protectable as a trade secret, or otherwise entitled to protection under the law. If a
            2    Receiving Party's request to file Protected Material under seal pursuant to Civil Local Rule 79-5(d) is
            3    denied by the court, then the Receiving Party may file the information in the public record pursuant to
            4    Civil Local Rule 79-5(e) unless otherwise instructed by the court.
            5    13.    FINAL DISPOSITION
            6           Within 60 days after the final disposition of this action, as defined in paragraph 4, each
            7    Receiving Party must return all Protected Material to the Producing Party or destroy such material. As
            8    used in this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
            9    summaries, and any other format reproducing or capturing any of the Protected Material. Whether the
           10    Protected Material is returned or destroyed, the Receiving Party must submit a written certification to
           11    the Producing Party (and, if not the same person or entity, to the Designating Party) by the 60 day
           12    deadline that (1) identifies (by category, where appropriate) all the Protected Material that was returned
           13    or destroyed and (2) affirms that the Receiving Party has not retained any copies, abstracts,
           14    compilations, summaries or any other format reproducing or capturing any of the Protected Material.
           15    Notwithstanding this provision, Counsel are entitled to retain an archival copy of all pleadings, motion
           16    papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence, deposition and trial
           17    exhibits, expert reports, attorney work product, and consultant and expert work product, even if such
           18    materials contain Protected Material. Any such archival copies that contain or constitute Protected
           19    Material remain subject to this Protective Order as set forth in Section 4 (DURATION).
           20

           21

           22

           23    PURSUANT TO STIPULATION, IT IS SO ORDERED.
           24
                         June 25, 2020
                 DATED: ________________________             _____________________________________
           25                                                     United States District/Magistrate Judge
                                                                  Hon. Donna M. Ryu
           26

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            1                                                   EXHIBIT A
            2                        ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
            3           I, _____________________________ [print or type full name], of _________________ [print or
            4    type full address], declare under penalty of perjury that I have read in its entirety and understand the
            5    Stipulated Protective Order that was issued by the United States District Court for the Northern District
            6    of California on ________________ [date] in the case of Ross v. AT&T Mobility, LLC, No. 4:19-CV-
            7    06669 (JST). I agree to comply with and to be bound by all the terms of this Stipulated Protective Order
            8    and I understand and acknowledge that failure to so comply could expose me to sanctions and punishment
            9    in the nature of contempt. I solemnly promise that I will not disclose in any manner any information or
           10    item that is subject to this Stipulated Protective Order to any person or entity except in strict compliance
           11    with the provisions of this Order.
           12           I further agree to submit to the jurisdiction of the United States District Court for the Northern
           13    District of California for the purpose of enforcing the terms of this Stipulated Protective Order, even if
           14    such enforcement proceedings occur after termination of this action.
           15           I   hereby    appoint    __________________________          [print   or   type   full   name]    of
           16    _______________________________________ [print or type full address and telephone number] as my
           17    California agent for service of process in connection with this action or any proceedings related to
           18    enforcement of this Stipulated Protective Order.
           19

           20    Date: ______________________________________
           21    City and State where sworn and signed: _________________________________
           22

           23    Printed name: _______________________________
           24

           25    Signature: __________________________________
           26

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